                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                3:15-CR-00121-RJC-DSC
 USA                                               )
                                                   )
     v.                                            )                  ORDER
                                                   )
 WILLIAM GAVIDIA (13)                              )
                                                   )

          THIS MATTER is before the Court upon the defendant’s post-verdict Rule 29 Motion,

(Doc. No. 838), his Rule 33 Motion for a New Trial, (Doc. No. 839), and the government’s

Response to both motions, (Doc. No. 858).

          A. Rule 29 Motion

          The defendant claims that the Court lacks jurisdiction over him because federal

racketeering laws are unconstitutional and that there was insufficient evidence to convict him

and to find venue in the Western District of North Carolina. (Doc. No. 838: Motion at 1-2).

          The defendant’s argument that the RICO statute is unconstitutional because the

prosecution of racketeering is not an enumerated power delegated by the States to the Federal

Government in the Constitution, more properly raised under Federal Rule of Criminal Procedure

12(b)(2)(challenging a court’s jurisdiction), is without merit. The United States Supreme Court

has interpreted 18 U.S.C. § 1962 as validly expanding the role of the Federal Government, vis-à-

vis the States, in combating organized crime, rendering the courts “without authority to restrict

the application of the statute.” United States v. Turkette, 452 U.S. 576, 587 (1981).

          “In reviewing the sufficiency of the evidence following a conviction, the court is to

construe the evidence in the light most favorable to the government, assuming its credibility, and

drawing all favorable inferences from it, and will sustain the jury’s verdict if any rational trier of




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fact could have found the essential elements of the crime charged beyond a reasonable doubt.”

United States v. Penniegraft, 641 F.3d 566, 571-72 (4th Cir. 2011) (citing Jackson v. Virginia,

443 U.S. 307, 319, (1979) and United States v. Lomax, 293 F.3d 701, 705 (4th Cir. 2002)).

Venue must be proven by a preponderance of the evidence for each count unless waived by the

defendant. United States v. Ebersole, 411 F.3d 517, 524 (4th Cir. 2005).

       Here, the Court found at the close of the government’s case-in-chief that the evidence

was sufficient to deny the defendant’s Rule 29 motion. A rational juror could have found

beyond a reasonable doubt that the trial evidence satisfied the elements of 18 U.S.C. §1962(d),

tending to show that the defendant engaged in fights with rival gang members and committed

other crimes as part of the MS-13 gang, a RICO enterprise, in Charlotte, North Carolina, within

the Western District of North Carolina. Following the conclusion of the trial and in

consideration of the instant motion, the Court continues to find that the evidence was sufficient

to support the jury’s verdict as to guilt and venue.

       B. Rule 33 Motion

       Federal Rule of Criminal Procedure 33 states that, on motion of a defendant, a district

court “may vacate any judgment and grant a new trial if the interest of justice so requires.” Fed.

R. Crim. P. 33. Here, the defendant claims he was denied a fair trial and that the evidence was

insufficient to support the verdict. (Doc. No. 839: Motion at 1).

       Prior to trial, the Court denied the defendant’s motion to sever his trial from his alleged

co-conspirators, (Doc. No. 751: Motion; Doc. No. 808: Order), and the defendant has not shown

his joint trial resulted in actual prejudice. Contrary to the defendant’s assertion, he had the

opportunity to cross-examine all witnesses against him. Also contrary to the defendant’s

assertion, the government did not tell the defendant “to go to hell” in its closing argument. The



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               jury was instructed to consider each charge against each defendant, and the evidence pertaining

               to it, separately and that the verdict as to one defendant would not control the verdict as to any

               other. As detailed above, it does not appear that the jury was prevented from making a reliable

               judgment about the defendant’s guilt. United States v. Dinkins, 691 F.3d 358, 368 (4th Cir.

               2012).

                        IT IS, THEREFORE, ORDERED that the defendant’s Rule 29 Motion, (Doc. No.

               838), his Rule 33 Motion for a New Trial, (Doc. No. 839), are DENIED.

Signed: January 13, 2017




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